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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig “Deepwater              *     MDL NO. 2179
   Horizon” in the Gulf of Mexico, on                   *
   April 20, 2010                                       *     SECTION: J
                                                        *
                                                        *
                                                        *     HONORABLE CARL J. BARBIER
                                                        *
                                                        *     MAGISTRATE JUDGE WILKINSON
                                                        *
                                                        *
                                                        *
Plaisance, et al., individually                         *     NO. 12-CV-968
and on behalf of the Medical                            *
Benefits Settlement Class,                              *     SECTION: J
                                                        *
             Plaintiffs,                                *
v.                                                      *     HONORABLE CARL J. BARBIER
BP Exploration & Production Inc., et al.,               *
                                                        *     MAGISTRATE JUDGE WILKINSON
                Defendants.                             *
                                                        *
                                                        *
                                                        *
                                                        *
                                                        *

               STATUS REPORT FROM THE DEEPWATER HORIZON
           MEDICAL BENEFITS SETTLEMENT CLAIMS ADMINISTRATOR

        The Garretson Resolution Group, the Claims Administrator of the Deepwater Horizon

Medical Benefits Class Action Settlement (the “Settlement”), submits the following quarterly

report to apprise the Court of the status of its work in processing claims and implementing the

terms of the Medical Settlement Agreement (the “MSA”) between October 1, 2018, and

December 31, 2018 (the “Reporting Period”).1 We have published 19 reports since Preliminary



1
  Capitalized terms not otherwise defined herein shall have the meanings ascribed to their fully capitalized
renderings in the MSA.
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Approval in May 2012, and this marks the fifteenth quarterly report filed since the claims filing

deadline of February 12, 2015. This status report provides:

           an executive summary of claims processed during the Reporting Period;

           a summary of claims for Specified Physical Conditions (“SPC”) and significant
            developments concerning these claims;

           an update on the operations and activities of the Class Member Services Center;

           an account of participation in the Periodic Medical Consultation Program (“PMCP”);

           a summary of claims for Later-Manifested Physical Conditions (“LMPCs”); and

           a summary of the activities of the grantees of the Gulf Region Health Outreach
            Program (“GRHOP”) and the operations of the Gulf Region Health Outreach
            Program Library.

       I.       EXECUTIVE SUMMARY

       The Claims Administrator has received 37,225 unique claims for compensation for an

SPC and/or participation in the PMCP through the end of the Reporting Period. The Claims

Administrator has received 6,761 Notices of Intent to Sue (“NOIS”) for claims for LMPCs. This

status report will provide an overview of the claims processing forecast for all SPC and PMCP

claims and NOISs filed, the variables influencing the progression of those claims and NOISs,

and the outcome of the claims and NOISs as they progress through the stages of review.

       Regarding the claims for compensation for an SPC and/or participation in the PMCP:

               the Claims Administrator has completed its review of 37,224 claims, or ninety-
                nine percent (99%) of all claims filed, to determine whether they qualify for
                compensation for an SPC and/or participation in the PMCP.

                   o Of the 37,224 claims that the Claims Administrator has fully reviewed,
                     22,839, or sixty-one percent (61%), were approved for compensation for
                     an SPC, and another 4,776, or thirteen percent (13%), were approved to
                     participate in the PMCP.

                   o Overall, the claims filed in this settlement were impacted by high defect
                     rates, with 28,870, or seventy-eight percent (78%), receiving either a
                     Request for Additional Information (“RAI”) or Notice of Defect during

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                              the life of the claim. Additionally, 19,741, or fifty-three percent (53%),
                              were impacted by changes or updates the claimants made to their Proof of
                              Claim Forms or supporting documentation, which required the Claims
                              Administrator to re-review the claims.

                         o The Claims Administrator is still reviewing 1, or less than one percent
                           (1%), of the claims filed in this settlement to determine whether it
                           qualifies for SPC compensation or to participate in the PMCP.2

                    The compensation allocated and paid to SPC-determined claims continues to
                     increase.

                         o During the Reporting Period, the Claims Administrator approved 9
                           Medical Benefits Settlement Class Members (“Class Members”) for over
                           $18,000 in SPC compensation. Since the inception of the Settlement, the
                           Claims Administrator has approved 22,839 Class Members for $67.2
                           million in SPC compensation.

                         o Of the $67.2 million awarded to the 22,839 Class Members with approved
                           SPC claims, $64 million has been paid to 22,487 Class Members. The
                           remaining 352 Class Members had not been paid as of the end of the
                           Reporting Period because they had payment complications that had not yet
                           been resolved. Approximately twelve percent (12%) of those Class
                           Members had healthcare liens that were still being resolved because their
                           claims had just reached a final determination in the second or third quarter
                           of 2018. In addition, approximately forty-two percent (42%) of the Class
                           Members who had not received payment by the end of the Reporting
                           Period were impacted by pending bankruptcy and/or probate
                           complications. The remaining forty-six percent (46%) have other
                           complications precluding payment, including child support obligations,
                           liens asserted by settlement advance lenders or other persons or entities,
                           general payment defects resulting from the Class Members’ failure to
                           provide necessary information on their POCFs, selection for random audit,
                           and pending Requests for Review.

                    Class Members continue to be approved for enrollment in the PMCP.

                         o During the Reporting Period, the Claims Administrator sent PMCP
                           Notices of Determination to twenty-seven (27) Class Members, for a total
                           of 27,417 over the life of the Settlement.




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    The final pending case is anticipated to queue for final determination by the end of the first quarter of 2019..

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           Regarding the Notices of Intent to Sue for LMPCs:

                    the Claims Administrator has completed its review of all 6,761 NOISs received,
                     to determine whether they are timely and complete for submission to BP for its
                     mediation decision.

                          o Of the 6,761 NOISs the Claims Administrator has reviewed, 4,864 were
                            approved for submission to BP for a mediation decision, 773 were denied,
                            and 1,124 were deficient.

                          o Similar to the claims for compensation for an SPC, the Claims
                            Administrator has observed a higher than anticipated defect rate for the
                            NOIS forms it received.

This information is discussed in greater detail below.

           II.       DETAILED CLAIMS PROGRESSION

                     A.      Claims for Compensation for an SPC and/or Participation in the
                             PMCP

           Through the end of the Reporting Period, the Claims Administrator has received 37,225

   unique claims for compensation for an SPC and/or participation in the PMCP. The number of

   total claims receiving a final determination or clearing lien resolution continued to increase

   throughout the Reporting Period. Of the 37,225 total claims filed, 37,224, or ninety-nine percent

   (99%), have been processed to a final determination, and one (1), or less than one percent (1%),

   requires additional processing.

           Of the claims reaching a final determination,

                22,839, or sixty-one percent (61%), were approved for compensation for an SPC,
                 with 22,839, or one hundred percent (100%), of the 22,839 claims receiving a notice
                 of final determination for compensation for an SPC and 22,487, or ninety-eight
                 percent (98%), of the 22,839 claims being paid;

                981, or three percent (3%), did not seek the SPC compensation benefit and instead
                 claimed and qualified for the PMCP benefit only;

                3,795, or ten percent (10%), proved they were Class Members and qualified to
                 receive the PMCP benefit but failed to prove they qualified for SPC compensation;
                 and


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           9,609, or twenty-six (26%), were denied because they (a) did not prove they were
            Class Members, (b) filed a valid opt-out, or (c) did not claim or prove a compensable
            SPC.

                        Figure 1: Composition of All Finalized Claims




       B.      Notices of Intent to Sue for LMPCs

       Through the end of the Reporting Period, the Claims Administrator has received 6,761

original NOISs. Of the 6,761 original NOISs filed, 4,864, or seventy-two percent (72%), were

found to be compliant and were submitted to BP for a mediation decision:

           773, or eleven percent (11%), were denied;

           1,124, or seventeen percent (17%), were found to be defective and were queued for
            Notice of Defect processing;




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                         Figure 2: Notice of Intent to Sue Processing




       III.   CLAIMS FOR SPECIFIED PHYSICAL CONDITIONS

              A.      Claimed Benefits and Compensation Level

       For the total 37,225 Proof of Claim Forms (“POCFs”) received, Table 1 provides a

breakdown of those that sought compensation for an SPC and participation in the PMCP and

those that sought only participation in the PMCP.

              TABLE 1: POCF FILINGS AVAILABLE FOR INITIAL CLAIMS REVIEW
                                                                           Total
       Total POCF Filings Available for Initial Claims Review              37,225
          Claims for Compensation for Both SPCs and Participation in the   36,244
          PMCP
          Claims for PMCP Only                                                981




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         The graph below provides a breakdown of the compensation levels claimed for all claims

filed:

                Figure 3: Compensation Level Composition of All Claims Filed




         In Table 2 below, we provide statistics of the claimed compensation level in Section VII

of the POCF as compared to the awarded compensation level. In over eighty-one percent (81%)

of claims where the Class Member has claimed a single compensation level, that same level of

compensation has been awarded. For the nineteen percent (19%) not awarded the claimed

compensation level, the Claims Administrator has awarded both higher and lower compensation

levels based on review of the POCF and supporting documentation provided.




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                                        Table 2: Determined Compensation Level
Qualified
Compensation              A1                      A2                     A3                    A4                    B1           Grand Total
Level
Section VII of
POCF
Claimed          Count         %        Count          %        Count         %        Count         %       Count         %
Compensation
Level
A1               12,161        97.71%      151         1.21%      112         0.90%       21        0.17%        1        0.01%         12,446
A2                  908        41.79%     1,175        54.07%      77         3.54%       10        0.46%       3         0.14%          2,173
A3                  456        35.54%      100         7.79%      659         51.36%      67        5.22%        1        0.08%          1,283
A4                   86        41.75%       15         7.28%       15         7.28%       90        43.69%                0.00%           206
B1                  596        48.30%      506         41.00%     101         8.18%        9        0.73%       22        1.78%          1,234
Multiple          2,233        66.34%      811         24.09%     261         7.75%       49        1.46%       12        0.36%          3,366
None              1,712        80.34%      259         12.15%     126         5.91%       33        1.55%        1        0.05%          2,131
Total            18,152        79.48%     3,017        13.21%    1,351        5.92%      279        1.22%       40        0.18%         22,839



                     B.        Claims Sent Dispositive Correspondence for a Specified Physical Condition

                     The overall percentage of all claims reaching final determination is ninety-nine percent

             (99%). During the Reporting Period, we sent SPC Notices of Determination to nine (9) Class

             Members, approving them for $18,150 in compensation. Since the inception of the Settlement,

             we sent SPC Notices of Determination to 22,839 Class Members, approving them for

             $67,243,129 in compensation. Over this Reporting Period, the total percentage of finalized

             Claims moving to an approved determination remained at sixty-one percent (61%).

                     The Claims Administrator sent two (2) Notices of Denial during the Reporting Period, for

             a total of 13,407 Notices of Denial from the inception of the Settlement through the end of the

             Reporting Period. All of these claims have been denied because the claimant did not qualify as a

             Class Member, because the claimant opted out of the settlement, and/or because the claimant did

             not meet the criteria established by the MSA to receive compensation for an SPC.

                     A summary of the dispositive correspondence sent on claims for compensation for an

             SPC is set forth in Table 3, below.

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                       TABLE 3: CLAIMS DISPOSITION AND CORRESPONDENCE

Notice Type                                                     Reporting Period                  Total
SPC Notices of Determination Sent                                         9                      22,839
Notices of Denial Sent                                                    2                      13,407

                  C.       Claims Approved for SPC Compensation

          During the Reporting Period, the amount of SPC compensation for which Class Members

were approved increased, as reflected in Table 4, below.

                                    TABLE : APPROVED CLAIMS FOR SPCS3
               Reporting Period           Total Number
                                                                  Reporting Period               Total Amount
    SPC            Number                  Approved to
                                                                  Amount Approved               Approved to Date
                  Approved                    Date
                      8                      18,152                      $10,400                    $23,016,800
     A1
                          1                     3,017                    $7,750                     $23,962,081
     A2
                          0                     1,351                         $0                    $17,089,082
     A3
                          0                      279                          $0                      $800,416
     A4
                          0                       40                          $0                     $2,374,750
     B1

    Total                 9                    22,839                    $18,150                    $67,243,129

          As set forth in the MSA, Class Members can only be paid once certain potential

obligations to third parties are identified and resolved. The resolution of these obligations is

dependent upon the responsiveness of both governmental agencies and private interests in

replying to the Claims Administrator’s requests for information and resolution. The obligations

fall into two general categories: healthcare-related obligations and other obligations.




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  Please note that the total volumes and total dollars approved are subject to change in each Reporting Period due to
later received and processed Requests for Review.

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       The resolution of healthcare obligations involves confirming whether a Class Member

received benefits from a governmental payor (such as Medicare, Medicaid, or the Veterans’

Administration) or a private healthcare plan for a compensable injury such that the Class

Member must now reimburse those entities for the amounts they paid. The processing phases

include (1) confirming entitlement with the government agency or private plan, (2) receiving

claims from the agency or plan, (3) auditing those claims and disputing any that are unrelated to

the Class Member’s compensable injury, and (4) final resolution. Pursuant to the terms of the

MSA, the Claims Administrator obtained an agreement from CMS establishing capped

repayment amounts per SPC for Class Members who are or were beneficiaries of Medicare. The

Claims Administrator also negotiated with state Medicaid agencies to cap recovery for Medicaid-

entitled Class Members.     Most states agreed to waive recovery rights for Class Members

receiving compensation for an A1 claim. Additionally, most state Medicaid agencies agreed to a

twenty percent (20%) cap on and up to a thirty-five percent (35%) offset for fees and costs

typically associated with their recovery, thereby allowing partial funding to the Class Member

while full resolution is pending. Processing times for Medicaid-entitled Class Members eligible

for payment will vary. Each state has its own processing standards for responding to entitlement

requests, producing claims, and finalizing lien amounts.

       The resolution of non-healthcare-related obligations involves identifying the various

types of obligations and working with the claimant or the claimant’s representative to resolve

them. The processing phases include (1) identifying the obligation (through review of claim

documents, PACER searches, and searches of the Louisiana Child Support Database),

(2) sending correspondence seeking documentation that will resolve the complication,

(3) reviewing the submitted documentation for sufficiency, and (4) final resolution. The Claims



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Administrator tracks responses to its correspondence and sends a follow-up letter to non-

responsive parties after thirty (30) to sixty (60) days have passed (with the length of time

depending on the complication).      We will also send follow-up correspondence when the

responses contain insufficient documentation. The resolution time for payment complications

varies and remains heavily dependent upon the timeliness and sufficiency of the third parties’

responses to our information requests. Once the obligations affecting a given claim are resolved

and any liens or reimbursement obligations are paid, the Claims Administrator is able to disburse

the balance of the Class Member’s compensation.

       IV.     CLAIMS FOR LATER-MANIFESTED PHYSICAL CONDITIONS

       During the Reporting Period, Class Members submitted 137 NOISs to pursue claims for

LMPCs. One hundred thirty-two (132) were original NOISs, and five (5) were supplements to

NOISs that had already been submitted. Of the 132, fifty-three (53) were compliant and were

sent to BP for a mediation decision, seventy-three (73) contained curable Defects and were

queued to receive a Notice of Defect, and six (6) were denied.

       From the inception of the Settlement through the end of the Reporting Period, Class

Members submitted 6,960 NOISs for compensation for a Later-Manifested Physical Condition.

Six thousand seven hundred sixty-one (6,761) were original NOISs, and one hundred ninety-nine

(199) were supplements to NOIS that had already been submitted. Of the 6,761, 4,864 were

compliant with the MSAs requirements and were sent to BP for a mediation decision, 1,124

contained Defects that could be corrected by the Class Member, and 773 were denied.




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                          TABLE 5: NOTICES OF INTENT TO SUE
                                                                       Reporting        Total
                                                                        Period
Total Notices of Intent to Sue Filed                                     137            6,960
Original Notices of Intent to Sue Filed                                  132            6,761
Subsequent Notices of Intent to Sue Filed                                  5             199
Notices of Intent to Sue Approved                                         53            4,864
Notices of Intent to Sue Denied                                            6             773
Notices of Intent to Sue Deficient4                                       73            1,124
Notices of Intent to Sue Under Review                                      0              0

        Of the 773 claims denied through the end of the Reporting Period, ninety-nine percent

(99%) were denied because the Notice of Intent to Sue was not submitted within four (4) years of

the Effective Date of the settlement or the first date of diagnosis of the Later-Manifested

Physical Condition, whichever is later.

        Of the 1,124 defective claims to date, the three (3) most common material Defects are as

follows:

       “The claimed date(s) of first diagnosis listed in Section VI.A.2 of the Notice of Intent to
        Sue Form is not supported by date(s) of diagnosis in the Medical Record(s) and/or
        Physician’s Certification Form.”; and

       “The medical record(s) and/or Physician’s Certification Form submitted does not support
        diagnosis of the condition(s) claimed in Section VI.A.1.

       “You must provide medical records or a completed Physician’s Certification Form
        indicating a date of first diagnosis that is after April 16, 2012.”

        Of the 4,864 compliant NOISs sent to BP for a mediation decision, BP elected to mediate

none of the claims, declined to mediate four thousand four hundred thirty-one (4,431) of the

claims, and is still considering whether to elect mediation on four hundred thirty-three (433) of

the claims. With respect to the four thousand four hundred thirty-one (4,431) claims that BP




4
  Class Members who cure Defects within their original Notice of Intent to Sue will then be classified as
“Approved” or “Denied” in future reporting, based on the responses received.

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declined to mediate, the Class Members holding those claims became eligible to file them as

Back-End Litigation Option Lawsuits once BP declined mediation.

                        TABLE 6: COMPLIANT NOTICES OF INTENT TO SUE
Mediation Elections                                                      Reporting             Total
                                                                          Period
Later-Manifested Physical Condition Claims for Which at                     0                    0
Least One BP Defendant Elected Mediation
Later-Manifested Physical Condition Claims Pending a                        1,207               433
Decision from One or More BP Defendants Regarding
Mediation
Later-Manifested Physical Condition Claims for Which No                     2,054              4,431
BP Defendants Elected Mediation

TOTAL:                                                                      3,261              4,864

Results of Mediation                                                     Reporting             Total
                                                                          Period
Later-Manifested Physical Condition Claims Settled by                       0                    0
Mediation
Later-Manifested Physical Condition Claims Settled by                          0                 0
Mediation as to One but Not All BP Defendants Listed in the
Notice of Intent to Sue
Later-Manifested Physical Condition Claims Mediated but                        0                 0
Not Settled

TOTAL CLAIMS MEDIATED:                                                         0                 0

Back-End Litigation Option Lawsuit                                       Reporting             Total
                                                                          Period
Total Claims That Have Been Eligible to Be Filed as Back-                  N/A                 4,431
End Litigation Option Lawsuits5

        V.      CLASS MEMBER SERVICES CENTER ACTIVITY

        The Claims Administrator operates a Class Member Services Center to communicate

with Class Members and their attorneys and to assist them with filing their claims. During the

Reporting Period, the Class Member Services Center received 2,579 telephone calls. Since



5
 This number is the sum of the “Later-Manifested Physical Condition Claims for Which No BP Defendant Elected
Mediation” and the “Later-Manifested Physical Condition Claims Mediated but Not Settled.”

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opening, the Class Member Services Center has received a total of 223,864 telephone calls. The

Class Member Services Center handled an average of forty (40) calls per day. The average

length of each telephone call was fifteen minutes and twelve seconds, with an average wait time

of one minute and fifty-seven seconds.

                      TABLE 7: CLASS MEMBER SERVICES CENTER
                                                                  Reporting        Total
                                                                   Period
Calls Received                                                      2,579        223,864
Average Length of Call (min:sec)                                    15:12         6:39
Average Wait Time (min:sec)                                          1:57         0:48
Emails Received                                                       37          3,228
Walk-Ins                                                               0           739

       VI.    PERIODIC MEDICAL CONSULTATION PROGRAM

              A.      Class Members Eligibility for and Participation in the PMCP

       Since the inception of the Settlement, the total number of Class Members receiving a

PMCP Notice of Determination is 27,417. The Claims Administrator received requests for and

scheduled 286 physician visits during the Reporting Period, and Class Members attended 140

appointments in the Reporting Period.

                TABLE 8: PERIODIC MEDICAL CONSULTATION PROGRAM
                                                                 Reporting
                                                                                   Total
                                                                  Period
PMCP Notices of Determination Sent                                   27            27,417
Physician Visits Requested and Scheduled                            286             3,916
Appointments Attended by Class Members                              140             3,791
Annual Update Letters Sent to Class Members                        4,776           59,938

              B.      Provider Network

       During the Reporting Period, the Claims Administrator added ten medical provider

organizations, representing 14 service delivery sites, to its network of providers established to

provide certain covered services to Class Members who participate in the PMCP; this brings the

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total number of medical provider organizations to 223. These medical provider organizations

represent 505 service delivery sites. Seventy-eight percent (78%) of eligible Class Members

who requested a PMCP evaluation resided within twenty-five (25) miles of a network provider at

the conclusion of the Reporting Period. The Claims Administrator continues to expand the

medical provider network in its efforts to ensure that no Class Member will have to wait more

than thirty (30) days or travel more than twenty-five (25) miles for an appointment.

       VII.    GULF REGION HEALTH OUTREACH PROGRAM

               A.      Funding and Coordinating Committee Activities
       In accordance with Section IX of the MSA, the Gulf Region Health Outreach Program

(“GRHOP”) was established in May 2012 to expand capacity for and access to high quality,

sustainable, community-based healthcare services, including primary care, behavioral and mental

health care and environmental medicine, in the Gulf Coast communities in Louisiana,

Mississippi, Alabama, and the Florida Panhandle. The program consists of five (5) integrated

projects: the Primary Care Capacity Project (“PCCP”), Community Involvement (“CI”), the

Mental and Behavioral Health Capacity Project (“MBHCP”), the Environmental Health Capacity

and Literacy Project (“EHCLP”), and the Community Health Workers Training Project

(“CHWTP”). As of the end of the Reporting Period, the Claims Administrator disbursed

$104,713,294 to the projects, as detailed in the chart below.




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                                              TABLE 11: GRHOP
Project                                                                                    Funding to Date
Primary Care Capacity Project                                                                $46,655,925
Community Involvement                                                                         $3,213,491
Mental and Behavioral Health Capacity Project ((Louisiana State
                                                                                               $14,359,145
University Health Sciences Center)
Mental and Behavioral Health Capacity Project (University of Southern
                                                                                                    $8,256,486
Mississippi)
Mental and Behavioral Health Capacity Project (University of South
                                                                                                    $8,256,489
Alabama)
Mental and Behavioral Health Capacity Project (University of West
                                                                                                    $5,025,696
Florida)
Environmental Health Capacity and Literacy Project                                             $14,957,416
Community Health Workers Training Project                                                       $3,988,646

TOTAL:                                                                                        $104,713,294

            The final disbursement was made in May 2016, which accounted for an eighteen (18)

month low-cost extension of the GRHOP, as agreed upon by the Parties and Coordinating

Committee members. All projects, except for Community Involvement,6 participated in this

extension period. Estimated administrative costs during the extension period, totaling $286,706,

were accounted for by the Claims Administrator, with all projects contributing to these costs.

Therefore, the May 2016 disbursement brought the total funding to the GRHOP to $104,713,294.

           The GRHOP was governed by a Coordinating Committee that functioned in a

cooperative and integrated manner, with quarterly in-person meetings around the Gulf Coast, as

well as monthly conference calls. These quarterly meetings offered the grantees the opportunity

to share their progress, discuss challenges faced, and collaborate with their partners to work

through issues that affect the GRHOP as a whole.

           The Claims Administrator held the final quarterly meeting on October 19, 2018, in New

Orleans, Louisiana. This meeting covered the activities of two (2) of the five (5) GRHOP

6
    Community Involvement chose not to participate in the eighteen (18) month low-cost extension.


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subcommittees — the Publication and Evaluation Subcommittees.7 The projects met to review

and provide an update on the Enterprise Evaluation paper and other papers planned for

dissemination and publication. The projects discussed their successes and challenges over the

course of the program. Additionally, they reviewed the impact of GRHOP on Gulf Coast

communities and the instruments put in place to sustain growth upon conclusion of the program.

        In addition to administering the conferences and quarterly meetings for the GRHOP

Coordinating Committee, the Claims Administrator continues to manage the GRHOP website.

The website launched on July 3, 2014 and can be publicly accessed at www.grhop.org. The

website contains detailed descriptions and notable accomplishments of each project, as well as

information regarding the GRHOP Coordinating Committee, news/events, and publications.

                B.      GRHOP Project Updates
        The GRHOP projects have made substantial progress in achieving the goals set forth in

their Grant Proposals. Some notable accomplishments of the projects include:

       The Primary Care Capacity Project, led by the Louisiana Public Health Institute
        (“LPHI”), concluded its grant on November 30, 2018. During the project period, LPHI
        has:

        o Expanded long-term access to high-quality, integrated, sustainable and community-
          based primary care with linkages to mental and behavioral health, and environmental
          and occupational health services;

        o Conducted assessments to identify and prioritize fifteen (15) community health
          centers and seventeen (17) Gulf Coast counties and parishes for targeted clinic
          capacity-building;

        o Through strategic funding, contributed to the growth and expansion of the community
          health centers over the six (6) year period, that resulted in increased access to care,
          types of services provided and financial stability;

        o Supported advancements in health information exchanges in Alabama, Louisiana and
          Mississippi. These advancements include establishment of an electronic notification

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  The five (5) GRHOP subcommittees include: the Data Sharing Subcommittee, Evaluation Subcommittee, Health
Promotions Subcommittee, Newsletter Subcommittee, and Publication Subcommittee. These subcommittees were
formed during the July 31, 2014 quarterly meeting.

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       system for the Mississippi Health Information Network, and implementation of the
       Prevention Institute’s Community-Centered Health Home model; and

    o Through strategic partnership building, fostered connections to other systems and
      established mechanisms to support and sustain growth beyond the project period.

   Alliance Institute’s outreach on behalf of the GRHOP and its partners has reached over
    1,500 individuals across Louisiana, Mississippi, Alabama, and Florida. Alliance Institute,
    the grantee responsible for Community Involvement, concluded its grant on April 30,
    2017.

   The Environmental Health Capacity and Literacy Project (“EHCLP”), with its
    grantee being Tulane University, concluded its grant on November 30, 2018. During the
    project period, the EHCLP has achieved the following through its main initiatives:

    o The Occupational and Environmental Health Specialty Network developed eight (8)
      continuing education modules for healthcare providers on occupational and
      environmental health (“OEH”) topics, conducted outreach and education for 2,600
      healthcare providers, community members and academic researchers, and established
      a referral network for specialty OEH evaluations.

    o The Emerging Scholars Environmental Health Sciences Academy and the
      Environmental Health Sciences Teachers’ Workshops provided 120 public high
      school students and 279 teachers from coastal Louisiana, Mississippi, Alabama and
      the Florida Panhandle the opportunity to strengthen their knowledge and skills in
      environmental health.

    o Mental health clinicians working with Tulane Building Early Relationships Support
      and Services (“TBEARS”) provided individual home visiting and telephone
      consultations in the New Orleans area to 310 families, and supported 396 families in
      group settings. TBEARS is an intervention program supporting families struggling
      with infant crying, sleeping and feeding, as well as parental depression and anxiety.

    o The Community Health Worker (“CHW”) Placement Program supported the
      employment of approximately twenty-two (22) CHWs at nineteen (19) organizations.
      During their employment, the CHWs engaged in patient navigation, facilitated access
      to medical and non-medical services, built individual capacity, and provided social
      support and health education to clients.

   The Community Health Workers Training Project, directed by the University of
    South Alabama’s Coastal Resource and Resiliency Center (“CRRC”), concluded its grant
    on December 31, 2017.

   The Mental and Behavioral Health Capacity Project, implemented by a coalition of
    four (4) academic institutions (Louisiana State University Health Sciences Center
    (“MBHCP-LA”), the University of Southern Mississippi (“MBHCP-MS”), the University



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   of South Alabama (“MBHCP-AL”), and the University of West Florida (“MBHCP-
   FL”)), has achieved the following:

   o MBHCP-LA concluded its grant on November 30, 2018. During the project period, it
     has:

         Worked collaboratively in Federally Qualified Health Centers (“FQHC”),
          community clinics, and schools in seven (7) designated Louisiana parishes to
          increase access to mental and behavioral health services, which resulted in
          improvements in the mental and behavioral health in these communities;

         Provided over 209,708 unique direct services. These services include
          supplemental therapeutic treatment in FQHCs and Primary Care Clinics;
          supportive strength-based services in clinics, schools, and communities; training
          and workforce development; and community outreach;

         Collected data during intake and follow-up for both adult and child clients
          receiving behavioral health services, and found improvement in behavioral health,
          physical health symptoms and mental health symptoms;

         Finalized contracts with FQHCs and Community Health Centers that will allow
          for sustainability and expansion of services in five (5) Louisiana parishes; and

         Secured contracts to continue and expand school trainings, consultations and
          clinical services both on site and via telepsychiatry in the parishes served by the
          MBHCP-LA.

   o MBHCP-MS concluded its grant on November 30, 2018. During the project period, it
     has achieved the following:

         The Mississippi Integrated Health and Disaster Program (“M-IHDP”)
          Administration established the infrastructure to support operations, and continued
          to provide behavioral health services at clinic locations in Biloxi, Pass Christian,
          Moss Point, and Gulfport.

         The M-IHDP provided administrative services, including providing clinic and
          community training, monitoring implementation of clinic initiatives, developing
          educations opportunities for professionals and community members,
          standardizing existing clinical services, and expanding and improving the peer
          review policy.

         The M-IHDP developed and implemented a Chronic Condition Support Program
          for diabetics, as well as a parenting program for caregivers of children with
          Attention Deficit Hyperactivity Disorder, a program for obese children, and a
          curriculum for hypertension.

         The M-IHDP administration was involved in the long-term plan for providing
          care coordination services within the FQHC. Training on chronic disease
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               management, the Mississippi Health Information Network (“MS-HIN”) direct
               messaging system, and Chronic Care Management Medicare services was
               implemented for the behavioral health staff within the FQHC.

              Training was provided to social work students and workers, FQHC staff, and
               other behavioral health professionals in integrated health, motivational
               interviewing, trauma, psychotropic medications, medical conditions and their co-
               morbid mental health issues, brief interventions, casework, best practices, chronic
               disease management, identification of individuals with mental health and
               substance abuse issues, and standardized documentation.

       o MBHCP-AL concluded its grant on November 30, 2018. During the project period, it
         has:

                         Shared program evaluation and scientific findings through twenty-five
                          (25) published or in press peer reviewed papers or book chapters, over
                          fifty (50) talks and presentations, and over forty (40) posters at
                          international, national, regional and local conferences;

                         Provided numerous trainings and educational activities throughout the
                          Alabama area in generational resilience, trauma-informed care,
                          motivational interviewing, electronic health records, psychotropic
                          medication, pain management, chronic disease management, and
                          mental health first aid;

                         Worked with the Mobile County Public School System to embed
                          mental health therapists into forty-two (42) schools across the system,
                          and with the Baldwin Board of Education to train teachers and staff in
                          Youth Mental Health First Aid; and

                         Focused on system-level change via building behavioral health
                          departments, workflow protocols, electronic health record
                          enhancements, and systematic trainings for targeted professionals.

       o MBHCP-FL concluded its grant on September 30, 2017.

               C.      GULF REGION HEALTH OUTREACH PROGRAM LIBRARY
       In accordance with Section IX.H of the MSA, the Claims Administrator has established a

publicly accessible online library, which exists as a repository of information regarding

information related to the health effects of the Deepwater Horizon incident, including, but not

limited to: (a) the composition, quantity, fate, and transport of oil, other hydrocarbons, and other

substances released from the MC252 Well and the Deepwater Horizon and the dispersants and


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contaminants used in Response Activities; (b) health risks and health studies relating to exposure

to oil, other hydrocarbons, and other substances released from the MC252 Well and the

Deepwater Horizon and the dispersants and decontaminants used in Response Activities; (c) the

nature, content, and scope of in situ burning performed during the Response Activities; and

(d) occupational safety, worker production, and preventative measures for Clean-up Workers.

       The library houses over 197,000 relevant documents, each tagged with a specific search

category based on the type of information identified within the MSA. The Claims Administrator

will continue to add Library Materials in accordance with the MSA.

                                             Respectfully submitted,

                                             DEEPWATER HORIZON MEDICAL BENEFITS
                                             CLAIMS ADMINISTRATOR


                                             By: /s/ Joseph L. Bruemmer
                                                  Joseph L. Bruemmer




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                                CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing document has been served on All Counsel

by electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial

Order No. 12, and that the foregoing was electronically filed with the Clerk of Court of the

United States District Court for the Eastern District of Louisiana by using the CM/ECF System,

which will send a notice of the electronic filing in accordance with the procedures established in

MDL 2179, on this 1st day of February, 2019.

                                             Respectfully submitted,

                                             /s/ Joseph L. Bruemmer
                                             Joseph L. Bruemmer




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